Appellate Case: 22-1170       Document: 010110903736            Date Filed: 08/16/2023    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                        August 16, 2023


  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  RE:       22-1170, Boulter, et al v. Noble Energy, et al
            Dist/Ag docket: 1:21-CV-03500-RM-SKC

 Dear Clerk:

 Pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's mandate in the
 above-referenced appeal issued today. The court's July 25, 2023 judgment takes effect
 this date. With the issuance of this letter, jurisdiction is transferred back to the lower
 court.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



  cc:       George Barton
            Stacy Ann Burrows
            James Robert Henderson
            Anthony N. Kaim
            Jonathan William Rauchway
            Barrett Reasoner
            Carlos Romo
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          Shannon Nicole Smith
          Ezekiel J. Williams



  CMW/jm
